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 MIDDLEBROOKS SHAPIRO, P.C.
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 (973) 218-6877
 Angela Nascondiglio Stein, Esq.
 anstein@middlebrooksshapiro.com
 Attorneys for the Chapter 11 Debtor and
 Debtor-in-Possession, Hiteshri Patel
 ____________________________________
                                     :    UNITED STATES BANKRUPTCY COURT
 IN RE:                              :    DISTRICT OF NEW JERSEY
                                     :
                                     :    Chapter 11
 HITESHRI PATEL,                     :
                                     :    Honorable Kathryn C. Ferguson
             Chapter 11 Debtor and   :
             Debtor-in-Possession.   :    Case No: 20-17880-KCF
 ____________________________________:
 ______________________________________________________________________________

            CERTIFICATION OF CHAPTER 11 PLAN DISTRIBUTIONS
 ______________________________________________________________________________

          ANGELA N. STEIN, ESQ., of legal age, hereby certifies as follows:

          1.     I am an Associate with Middlebrooks Shapiro, P.C., bankruptcy counsel for Hiteshri

 Patel, the above-captioned Chapter 11 Debtor and Reorganized Debtor (the “Debtor”).

          2.     The first distribution to unsecured creditors (on the table annexed hereto as Exhibit

 A) was made in accordance with the Debtor’s Chapter 11 Plan (See, Docket No. 121), which was

 confirmed by Order entered on August 20, 2021 (See, Docket No. 236).

          I hereby certify under penalty of perjury that the foregoing statements made by me are true.

 I am aware that if any of the foregoing statements are willfully false, I am subject to punishment.



                                                /s/ Angela N. Stein
                                                Angela N. Stein, Esq.
 Dated: 7/12/2022
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                                          EXHIBIT A

                 CREDITOR                                      AMOUNT
  5th and PCH – Retail                          $252.60
  PO Box 840628
  Los Angeles, CA 90084-0628
  Chase                                         $49.38
  Cardmember Services
  PO Box 6294                                   $46.82
  Carol Stream, IL 60197-6294
  Citi                                          $37.42
  PO Box 9001037
  Louisville, KY 40290
  Costco                                        $14.53
  Citicards
  PO Box 790046
  Saint Louis, MO 63179-0046
  Discover                                      $25.77
  PO Box 15251
  Wilmington, DE 19886
  DSC America, Inc                              $112.12
  c/o Kennedy Wilson
  Properties, Ltd.
  151 S. El Camino Drive
  Beverly Hills, CA 90212
  GE HFS, LLC                                   $667.88
  9900 Innovation Drive
  RP – 2100
  Milwaukee, WI 53226
  HF Holdings, Inc.                             $248.87
  PO Box 593080
  Huntington Beach, CA 92648
  Konica Minolta                                $655.39
  TIAA Commercial Finance, Inc.
  10 Waterview Boulevard
  Parsippany, NJ 07054
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  NFS Leasing, Inc.                           $2876.40
  Attn: Accounting
  900 Cummings Center
  Suite 226-U
  Beverly, MA 01915
  RMS Franchise Group                         $78.48
  2390 E. Orangewood Ave.
  Suite 550
  Anaheim, CA 92806
  Yogesh Patel                                $934.34
  714 S Halliday St
  Anaheim, CA 92804
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